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                EXHIBIT 1
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  CHHABRA LAW FIRM, PC
1 ROHIT CHHABRA (SBN 278798)
  Email: rohit@thelawfirm.io
2 257 Castro Street Suite 104
  Mountain View, CA 94041
3 Telephone: (650) 564-7929

4 Attorney for Plaintiffs
  Open Source Security Inc. and
5 Bradley Spengler

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7
                                      UNITED STATES DISTRICT COURT
8                                   NORTHERN DISTRICT OF CALIFORNIA
                                         SAN FRANCISCO DIVISION
9

10                                                )   Case No.: 3:17-cv-04002-LB
     OPEN SOURCE SECURITY INC. and                )
11   BRADLEY SPENGLER                             )
                       Plaintiffs,                )   Declaration of Rohit Chhabra in Support of
12                                                )   OSS’ Opposition to Perens’ Attorneys’ Fee
       v.                                         )   Motion
13                                                )
     BRUCE PERENS, and Does 1-50,                 )
14                                                )
                                    Defendants.   )   Location: Courtroom C, 15th Floor
15                                                )   Judge: Hon. Laurel Beeler
                                                  )
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28                                                                                    3:17-CV-04002-LB

     Declaration of Rohit Chhabra
              Case 3:17-cv-04002-LB Document 77-7 Filed 03/09/18 Page 3 of 5




 1                                            Declaration of Rohit Chhabra

 2           I, Rohit Chhabra, declare:
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 4
             1.       I am the attorney of record for Plaintiffs Open Source Security Inc. (OSS) and Bradley
 5
     Spengler in the above-referenced action, and I am admitted to practice before this Court. I have
 6
     personal knowledge of the facts stated herein and, if called to testify, I could and would testify
 7

 8 completely hereto.

 9           2.       I colloquially sent an email to Ms. Hansen stating, “Oh interesting. This would be a fun
10 game to play. If you win this, I’ll happily pay your bills,” intending to mean that I accept her anti-

11
     SLAPP motion as a challenge. This statement did not mean anything else.
12
             3. I clarified the above to Ms. Hansen on December 26, 2017. I also clarified that my colloquy
13
     was intentionally being misrepresented.
14

15           4. In my professional judgment the complaint had to be amended to withstand an anti-SLAPP

16 motion. I amended the complaint only reduce costs to both parties and promote judicial economy.

17           5. Had I known Defendant would have filed an anti-SLAPP motion, I would have amended the
18 complaint prior to Defendant’s first anti-SLAPP motion.
19
             6. I did not argue the motion for summary judgment since the Court had already made its
20
     decision; continue to argue the motion would have been disrespectful.
21

22
23           7. Exhibit 2 is a true and correct copy of the sanction entries of Defendant’s timekeeping

24 records.
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27
             I declare under penalty of perjury under the laws of the United States that the foregoing is
28
                                                              -1-
                                                                                                          3:17-CV-04002-LB
     Declaration of Rohit Chhabra in Support of OSS’ Opposition to Perens’ Motion to Continue OSS’ Motion for Partial
     Summary Judgment
              Case 3:17-cv-04002-LB Document 77-7 Filed 03/09/18 Page 4 of 5



             true and correct.
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2

3            Executed this 8th day of March 2018 in Mountain View, California.

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6                                                                /s/ Rohit Chhabra_________
                                                                 Rohit Chhabra
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                                                                                                          3:17-CV-04002-LB
     Declaration of Rohit Chhabra in Support of OSS’ Opposition to Perens’ Motion to Continue OSS’ Motion for Partial
     Summary Judgment
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                EXHIBIT 2
               FILED UNDER
               SEAL
